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                   UNITED STATES DISTRICT COURT
                             FOR THE
                        DISTRICT OF VERMONT


William Neuenswander,                  :
         Plaintiff,                    :
                                       :
          v.                           :      File No. 2:05-CV-82
                                       :
United States of America,              :
         Defendant.                    :


         MAGISTRATE JUDGE’S REPORT & RECOMMENDATION
                        (Document 8)

    Plaintiff William Neuenswander filed this medical

malpractice action against the United States under the

Federal Tort Claims Act (“FTCA”), 28 U.S.C. 1346(b).

Neuenswander alleges that the doctors at the White River

Junction Veterans Administration Medical Center (“VAMC”)

committed medical malpractice when they failed to properly

treat his skin disease.       The case is currently before this

Court on the government’s motion to dismiss under Fed. R.

Civ. P. 12(b)(1) for lack of subject matter jurisdiction.

    For the following reasons, I recommend that the

government’s motion to dismiss (Doc. 8) be DENIED.

                              BACKGROUND

    Mr. Neuenswander suffers from Hidradenitis Suppurativa

(“HS”), “a chronic, pus-producing..., scarring... disease

process that occurs due to obstruction of hair follicles and
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secondary infection and inflammation of certain sweat

glands. . . .     The disease is characterized by the

development of recurrent, boil-like nodular lesions and deep

pus-containing pockets of infection... that may eventually

rupture through the skin.”             WebMD Health Guide A to Z

available at http://www.webmd.com/hw/health_guide_atoz/nord

358.asp (last visited Dec. 8, 2005).

     1983 - September 1999

     Mr. Neuenswander first received treatment from the VAMC

for HS in 1983.         (Doc. 1, ¶ 10).       At that time he had

bilateral axillary 1 sinuses 2 excised.             (Doc. 8-2 at 5).     In

1992, he had a right groin sinus excised and a skin graft.

(Id.)    In 1996 he had “extensive perineal 3 resection 4 of

abscesses with subsequent grafting.”                (Id.)

     On January 13, 1998, Neuenswander was admitted to the



     1
     Axillary refers to the “fossa axillaris” which is “the
small hollow, underneath the arm, where it joins the body at
the shoulder . . .” Dorland’s Illustrated Medical Dictionary
655 (28 th ed. 1994).
     2
     A sinus is “an abnormal channel or fistula permitting
the escape of pus.” Id. at 1530.
     3
     The perineum is “the pelvic floor and the associated
structures occupying the pelvic outlet.” Id. at 1261.
     4
     Resection is the “excision of a portion or all of an
organ or other structure.” Id. at 1446.

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VAMC for treatment of his HS.            (Id. at 4).     At that time he

was diagnosed with “recurrent [HS] of the perineal area.”

(Id.)   Generally, his treatment consisted of debridement 5 ,

dressing changes and skin grafts.            (Id. at 4-7).        However,

his treatment was complicated by infection and slow healing.

(Id. at 5-7).

    More specifically, Neuenswander’s wounds were debrided

four times during his first month at the VAMC.                 (Id. at 4).

Because his wounds were not healing well, he was given a

diverting colostomy in February 1998.              (Id. at 5-6).       His

condition improved after the colostomy.               Accordingly, in

March 1998 his wounds were debrided again and he received a

skin graft.     (Id. at 6).    The skin graft became infected.

(Id.)   After more debridement, his wounds showed signs of

healing, so he underwent another skin graft on April 17,

1998.   (Id.)    This graft also failed to heal.             (Id.)     A

series of tests did not reveal any abnormalities to explain

his repeated failure to heal.            (Id.)    His wounds were

debrided again on August 12 and 13.              (Id. at 4, 6).       On




    5
     Debridement is the removal of foreign material and
devitalized or contaminated tissue from or adjacent to a
traumatic or infected lesion until surrounding healthy
tissue is exposed. Id. at 430.

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August 14, he was diagnosed with a subcutaneous abscess at

the site of his colostomy.            (Id. at 6).        This abscess was

incised and drained.        (Id. at 7).        This wound also failed to

heal and he “developed a chronic infected fistula 6 . . .

located medially 7 to the colostomy with a minimal amount of

purulent discharge.”        (Id.)      His wounds were irrigated eight

times during September 1998.            (Id. at 4).

    On January 25, 1999, after more than a year of

inpatient treatment, Neuenswander was discharged from the

VAMC.     (Id.)     According to the discharge report, he was in

stable condition, his dependence on pain killers had

subsided because of his improved condition, but he had a

chronic non-healing wound in the perineal area.                   (Id. at 7).

He was transferred to Brookside Health and Rehabilitation

Center (“Brookside”) with recommendations “to continue daily

dressing changes of his wounds in the perineal and colostomy

areas.”     (Id.)

    Neuenswander was scheduled to follow-up with general

and plastic surgery at the VAMC on February 18, 1999.                   (Doc.



    6
     A fistula is “an abnormal passage . . . leading from
an internal organ to the surface of the body.” Id. at 635.
    7
     Medially “pertain[s] to the middle; closer to the . .
. midline of the body.” Id. at 998.

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8-2 at 12).       However, he cancelled these appointments

because he thought they were too soon.                   (Id. at 12-13).

He also cancelled his next follow-up appointment with the

plastic surgery department that was scheduled for March 11,

1999.     (Id. at 12).      On March 16, 1999, he went to his first

follow-up appointment at the VAMC.              (Id.)        In May 1999, a

Brookside nurse reported that Neuenswander’s groin wound

showed “little to no improving.”             (Doc. 8-2 at 16).           The

nurse also reported that Neuenswander “refuses to be an

experiment any more - Adamant about never going back to VA -

‘would rather die here.’” (Id.)

       On June 17, 1999, Neuenswander had another follow-up

appointment at the VAMC. (Doc. 8-3 at 13).                   At this

appointment, he told the doctor that he was concerned that

his condition was getting worse.             (Id.)        The doctor reported

that the groin wounds were much improved with no signs of

infection, and that there was a wound between the glans and

the shaft of the penis with purulent drainage but no

cellulitis.       (Id.)    The doctor noted that Neuenswander was

“overall probably improved.”            (Id.)    After this visit,

Neuenswander did not receive any further treatment at the

VA.



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    On July 19, 1999, Dr. Holub, the physician at

Brookside, noted that Neuenswander had reported adequate

pain control and increased ability to get up and irrigate

his groin and perianal wounds.            (Doc. 8-3 at 2).        Dr. Holub

also reported that Neuenswander, since taking anti-

depressant medication, “general[ly] feels quite satisfied

but typically and appropriately concerned about the

chronicity of illness.”       (Id.)

    On August 8, 1999, a Brookside nurse reported an

increase in the discharge and odor of Neuenswander’s wounds,

little to no improvement of his penis and copious yellow

discharge.   (Doc. 8-3 at 15).           Dr. Holub saw Neuenswander on

August 11 and reported that although the nurses thought the

wounds were getting worse, Neuenswander thought his

condition was the same.       (Doc. 8-2 at 18).          Neuenswander

also reported that he was encouraged by his last visit to

the VAMC because Dr. Brown noted improvements.                 (Id.)

Neuenswander agreed to more testing to discover the cause

for his delayed healing.       (Id.)       Dr. Holub concluded that he

was “not sure that given extreme nature of [Neuenswander’s]

case that the VA hospital are the only specialists we should

be using and I will likely be contacting another plastic



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surgeon for a second opinion.”              (Id.)

       Neuenswander reported to a nurse at Brookside on

September 14, 1999 that he did not want to return to the

VAMC for his three-month appointment scheduled for September

16.    (Doc. 8-2 at 20).          He also expressed “concern that

penis has increase discharge from around shaft.”                    (Id.)   The

nurse also noted that the “pocket under glans” has “dark

thick discharge.”         (Id.)     Neuenswander asserted that he did

not want to return to the VAMC because “the trip ... was

extremely painful ... and at every appointment all the

doctors would do is to take the dressings off, look at the

wound, write notes and tell me they were satisfied with the

progress.”      (Doc. 11-2, ¶ 10).          On September 16, 1999, he

told Dr. Holub that he didn’t want to go to the VA because

“they never have anything new to offer.”                 (Doc. 8-3 at 2).

Dr. Holub noted that he was “forced to agree with

[Neuenswander’s] assessment at this point.                 I have

previously felt his wounds were not healing adequately and

have expected a more aggressive approach, but Dr. Brown is

satisfied with his progress, expecting a relatively slow

recovery.”      (Id.)     Dr. Holub also reported a general

improvement in Neuenswander’s condition since coming to



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Brookside, but noted the extensive wounds on the sacrum,

perineum, penile shaft and bilateral inguinal folds.                    (Id.)

    November 1999 - June 2000

    During November 1999, Brookside nurses reported

increased pain, increased mucus discharge from penile wound,

and bleeding from the rectal area.               (Doc. 8-3 at 17-19).

The nurse also noted that Neuenswander’s “skin integrity is

impaired.”     (Id. at 19).

    In January 2000, Dr. Holub noted an increase in the

size of the wounds of penile shaft, perineum and sacrum.

(Doc. 8-3 at 23).      He also noted that he was attempting to

get a consultation in Boston.            (Id.)     In February 2000, a

nurse reported to Dr. Holub that Neuenswander was in extreme

pain, had urinary incontinence, and a decrease in the amount

of skin keeping his glans attached.               (Doc. 8-3 at 25).

    Dr. Holub referred Neuenswander to the plastic surgery

clinic at Fletcher Allen Health Care in June 2000.                    (Doc. 8-

3 at 4).     “Dr. Holub noted in his referral letter this wound

situation [failed graft and treatment by dressing changes]

has been relatively static with not much improvement or

worsening since that time.”          (Id.)       Neuenswander was seen by

Dr. Laub who reported that Neuenswander had “open



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granulating 8 wounds” with no signs of cellulitis 9 or

infection, a large surgical wound that did not show signs of

contracting, a groin wound that was contracting and healing,

and no change in the perineal/perianal area (according to

the photographs).        (Id.)    Dr. Laub also suggested that

bacterial colonization was the cause of Neuenswander’s

delayed healing.        (Id.)    Dr. Laub concluded that

Neuenswander was not a good candidate for surgery because of

his psychological and pharmacological problems.                  (Id.)

     July 2000 - March 2001

     In July 2000, a Brookside nurse reported that the

social worker had had many conversations with Neuenswander

about getting additional consultations and seeking out more

aggressive treatment but that Neuenswander did not want to

seek alternative treatment.           (Doc. 8-3 at 7).        He said that

he believed that Brookside was “doing what they can for

him.”    (Id.)   He acknowledged that there might be another

facility that could help him but was reluctant to go



     8
     Granulating means “forming small beadlike masses of
tissue that form on the surface of wounds.” Id. at 715.
     9
     Cellulitis is “acute, diffuse, spreading, [pus-
producing] inflammation of the deep subcutaneous tissues and
sometimes muscle, which may be associated with abscess
formation.” Id. at 295.

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anywhere.     (Id.)    He also said that the skin grafts had not

worked and the VAMC said that they can’t do more.                    (Id.)       In

August 2000, a nurse reported that Neuenswander “refuses to

go to any appointments or leave [Brookside].”                 (Id.)

    In October 2000, Dr. Sarkis, who replaced Dr. Holub at

Brookside, reported that Neuenswander’s condition had

improved with antibiotics: he had less pain, less discharge,

less smell, and was able to walk more.                (Doc. 11-9 at 1).

Dr. Sarkis indicated that the current wound “appears to be

stable” by comparison to the photographs.                (Id.)     However,

Dr. Sarkis also reported that Neuenswander had a “difficult

to heal perineal wound compromising the penile shaft...deep,

extensive peroneal [sic] wound extending from inguinal 10

area down to the sacrum peroneum [sic] involving the scrotum

and penile shaft.”       (Id.)   Dr. Sarkis noted that she had

repeatedly discussed with Neuenswander “the need to get

another surgeon involved in his chronic care.”                   (Id.)

    In November 2000, a Social Services Progress Report

indicated that Neuenswander had a positive outlook.                      (Doc.

11-10).     Neuenswander also reported that he was healing

slowly but anticipated leaving the facility.                 (Id.)


    10
         Inguinal “pertains to the groin.”            Id. at 841.

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     On March 29, 2001, Dr. Breuing at Brigham and Women’s

Hospital in Boston saw Neuenswander by referral from Dr.

Sarkis.    (Doc. 8-3 at 27).          Dr. Breuing reported that

Neuenswander’s “entire groin region and perineum, scrotum,

and gluteal folds are deeply ulcerated and covered with

purulent exudate. 11 ”     (Id. at 28).         Dr. Breuing discussed

treatment options with Neuenswander and recommended

transferring him to Brigham and Women’s Hospital where he

would have more wound debridement followed by “vacuum

assisted closed device sponge” to repair the bacterial

balance.    (Id. at 28-29).       Dr. Breuing also suggested

additional skin grafting.         (Id. at 29).

     November 2001 - July 2002

     Neuenswander’s treatment with Dr. Breuing was delayed

pending approval by Medicaid.               (Doc. 8-3 at 31-32, 34-35,

Doc. 8-4 at 2).        In the interim, Neuenswander was seen at

Cottage Hospital in New Hampshire on November 3, 2001 where

doctors excised the necrotic glans of his penis.                   (Doc. 8-3

at 34).




     11
      Exudate is “material, such as fluid, cells, or
cellular debris, which has escaped from blood vessels and
has been deposited in tissues or on tissue surfaces, usually
as a result of inflammation.” Id. at 597.

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    On November 11, 2001, Neuenswander was admitted to

Brigham and Women’s Hospital.              (Doc. 8-4 at 2).       He

underwent repeated wound debridement which was treated with

vacuum sponges.        (Id. at 3).     On November 23, 2001,

Neuenswander had a skin graft, also treated with vacuum

sponges.   (Id.)       This graft was ultimately unsuccessful.

(Id.)   Neuenswander received extended wound care at the

hospital and was finally discharged to a rehabilitation

center in February 2002.         (Id.)       After a follow-up visit in

July 2002, Dr. Breuing reported that Neuenswander “has made

remarkable progress.”        (Doc. 8-4 at 19).          He walked into Dr.

Breuing’s office, had no discomfort and was no longer taking

any pain medications.        (Id.)

        His wounds have significantly decreased in
        size and the skin grafted regions have
        continued to grow in ... The groin regions are
        almost entirely healed on the right side and
        closed up on the left. The peripenile shaft
        ulcers have healed and redundant excess skin
        might be suitable for a limited reconstruction
        of the penile shaft at some point. The
        ulcerations around the sigmoid colostomy are
        healed but more importantly the perineal and
        perianal tissues have started to
        reepithelialize so that Bill actually has a
        reasonable chance of a successful colostomy
        takedown ... It will still take several more
        weeks, until all of the wounds are healed;
        however, I see that this goal will be reached
        in the very near future.



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(Id.)

    Neuenswander filed an administrative claim with the

Veterans Administration (“VA”) on September 3, 2002 alleging

medical malpractice.       The claim remained unresolved for over

two years.     In December 2004, Neuenswander contacted the VA

and submitted a copy of the complaint he intended to file in

Federal court.     The VA responded that the file was ready for

review and requested an additional 60 days to make a

decision, to which Neuenswander agreed.                Neuenswander filed

this action in April 2005.           The VA denied his claim on May

4, 2005.     This Court held a hearing on the government’s

motion to dismiss on January 17, 2006.

                               DISCUSSION

    The government raises two issues in its motion to

dismiss.     First, it asserts that Neuenswander’s claim is

barred by the statute of limitations because it accrued more

than two years before he filed his administrative claim.

Second, the government argues that even if the entire claim

is not barred, Neuenswander’s claims of malpractice prior to

1998 are barred because they were not included in his

administrative claim.

I. Standard of Review



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    A Rule 12(b)(1) motion can challenge the subject matter

jurisdiction of the court either by (1) contesting the

sufficiency of the complaint on its face, or (2) disputing

the factual allegations.        Hayden v. New York Stock Exch.,

Inc., 4 F. Supp. 2d 335, 337 (S.D.N.Y. 1998).                Generally, on

a Rule 12(b)(1) motion the Court reads the plaintiff’s

complaint with generosity and accepts the allegations as

true.   Hinesburg Sand & Gravel Co., Inc. v. Chittenden Solid

Waste Dist., 959 F. Supp. 652, 656 (D. Vt. 1997)(citing Atl.

Mut. Ins. Co. v. Balfour Maclaine Intern., 968 F.2d 196, 198

(2d Cir. 1992)).       However, when the jurisdictional facts are

disputed, the court “may engage in fact-finding,”                 Fisher v.

F.B.I., 94 F. Supp. 2d 213, 216 (D. Conn. 2000), and look to

evidence outside the pleadings.           Filetech S.A. v. France

Telecom S.A., 157 F.3d 922, 932 (2d Cir. 1998).                 The burden

of proof is on the party asserting jurisdiction.                 Linardos

v. Fortuna, 157 F.3d 945, 947 (2d Cir. 1998).

    Generally, only a Rule 12(b)(6) motion that relies on

evidence outside the pleadings is converted into a motion

for summary judgment.       Kamen v. Am. Tel. & Tel. Co., 791

F.2d 1006, 1010-11 (2d Cir. 1986).            However, “where

jurisdiction is so intertwined with the merits that its



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resolution depends on the resolution on the merits, the

trial court should employ the standard applicable to a

motion for summary judgment.”             London v. Polishook, 189 F.3d

196, 198 (2d Cir. 1999).        In this case, the question of when

Neuenswander’s claim accrued depends on when he knew or

should have known that he was injured and the cause.

Neither of these jurisdictional facts resolves the

underlying issue of this medical malpractice case, namely

whether the VA breached the applicable standard of care when

they treated him.      Therefore, it would not be appropriate

for this Court to apply a summary judgment standard of

review to the government’s motion to dismiss for lack of

subject matter jurisdiction.

II. Accrual

    The FTCA is a limited waiver of sovereign immunity by

the United States whereby one can sue for the “negligent or

wrongful act or omission” of a government employee.                   28

U.S.C. § 1346(b)(1).       However, “[a] tort claim against the

United States shall be forever barred unless it is presented

in writing to the appropriate Federal agency within two

years after such claim accrues.”             28 U.S.C. § 2401(b).

Neuenswander filed his administrative claim with the VA on



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September 3, 2002.      Therefore, if his claim accrued before

September 3, 2000, this action is barred.

    A. Legal Test

    Although liability under the FTCA is predicated on

state law, federal law governs when a claim accrues for

purposes of the two-year limitations period.                 Rispoli v.

United States, 576 F. Supp. 1398, 1401 (E.D.N.Y. 1983),

aff’d mem., 779 F.2d 35 (2d Cir. 1985).                The seminal case on

the accrual of a medical malpractice claim under the FTCA is

United States v. Kubrick, 444 U.S. 111 (1979).                 In that case

the Supreme Court decided that a claim accrues when the

party has knowledge of both the injury and its cause.                  Id.

at 122.   Accrual need not be delayed until the claimant has

knowledge of his legal rights.            Id.   However, “accrual may

be postponed until the plaintiff has or with reasonable

diligence should have discovered the critical facts of both

his injury and its cause.”           Barrett v. United States, 689

F.2d 324, 327 (2d Cir. 1982) (citing Kubrick).                 Generally,

       [d]iscovery of the ‘critical facts’ of injury
       and causation is not an exacting requirement,
       but requires only knowledge of, or knowledge
       that could lead to, the basic facts of the
       injury, i.e., knowledge of the injury’s
       existence and knowledge of its cause or of the
       person or entity that inflicted it...[A]
       plaintiff need not know each and every

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       relevant fact of his injury or even that the
       injury implicates a cognizable legal claim.

Kronisch v. United States, 150 F.3d 112, 121 (2d Cir. 1998)

(citation omitted).          A claim will not accrue when the

claimant simply has a suspicion, “but such suspicions do

give rise to a duty to inquire into the possible existence

of a claim in the exercise of due diligence.”                    Id.

(citations omitted).          However, “[w]here a patient has been

told that complications will arise and, when they do arise,

is told further that they can be treated, he cannot be

deemed to have knowledge of an injury.                 In such

circumstances, he can only be deemed to have knowledge after

a sufficient period of time has passed so as to alert him

that the treatment is unsuccessful.”              Rispoli, 576 F. Supp.

at 1403.

    Neuenswander argues that the Kubrick standard is

inapplicable because his claim is based on a pre-existing

condition.    Therefore he contends that his claim should be

evaluated by the standard applied in Augustine v. United

States, 704 F.2d 1074, 1078 (9 th Cir. 1983).                In that case,

the court decided that Kubrick “cannot be applied

mechanically to cases involving the failure to diagnose,

treat or warn.”        Id.    The court reasoned that

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          [w]hen a physician’s failure to diagnose,
          treat or warn a patient results in the
          development of a more serious medical problem
          than that which previously existed,
          identification of both the injury and its
          cause may be more difficult for a patient than
          if affirmative conduct by a doctor inflicts a
          new injury. Where a claim of medical
          malpractice is based on the failure to
          diagnose or treat a pre-existing condition,
          the injury is ... the development of the
          problem into a more serious condition which
          poses greater danger to the patient or which
          requires more extensive treatment. In this
          type of case, it is only when the patient
          becomes aware or through the exercise of
          reasonable diligence should have become aware
          of the development of a pre-existing problem
          into a more serious condition that his cause
          of action can be said to have accrued for
          purposes of section 2401(b).

Id.

       The government has cited “failure to treat” cases

resolved under the Kubrick standard and argues that these

cases establish the rule that a claim accrues “when a

plaintiff is aware that his condition is worsening and has

reason to suspect that treatment provided by government

doctors may have been a cause of that condition.”                    (Doc. 8

at 10).      The Court is not persuaded that this is the rule

created by this line of cases.               Moreover, it is not clear

that the Augustine standard is inconsistent with Kubrick.

Certainly, some courts have relied on Augustine to evaluate



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“failure to treat” cases.        See Hughes v. United States, 263

F.3d 272, 278 (3 rd Cir. 2001); Nicolazzo v. United States,

786 F.2d 454, 456 (1 st Cir. 1986);          Green v. United States,

765 F.2d 105, 109 (7 th Cir. 1985).          See also Raddatz v.

United States, 750 F.2d 791 (9 th Cir. 1984); Young v. United

States, 698 F. Supp. 393 (D. Mass. 1988).                However, other

courts have evaluated “failure to treat” cases under

Kubrick, without relying on Augustine.                See Sexton v. United

States, 832 F.2d 629, 633 (D.C. Cir. 1987); Drazan v. United

States, 762 F.2d 56, 58 (7 th Cir. 1985); Arvayo v. United

States, 766 F.2d 1416, 1420 (10 th Cir. 1985).               See also

Mortensen v. United States, 509 F. Supp. 23 (S.D.N.Y. 1980).

Nevertheless, under either standard, Neuenswander has a duty

to inquire into both the existence and the cause of his

injury.   The parties agree that Neuenswander’s injury is the

deterioration of his medical condition.                Therefore, under

either standard the question is whether Neuenswander knew or

should have known prior to September 3, 2000 that (1) his

condition was deteriorating and, (2) that the worsening was

caused by the medical treatment he received at the VAMC, not

by the natural progression of his disease.                This is an

objective test based on the standard of a reasonable person



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under the circumstances.        See Rispoli, 576 F. Supp. at 1402;

Barren v. United States, 839 F.2d 987, 991 (3 rd Cir. 1988);

Arvayo, 766 F.2d at 1422.

    B. Application

     The government argues that Neuenswander’s claim

accrued in September 1999 when he abandoned further

treatment by VAMC.      Alternatively, the government argues

that his claim accrued by June 2000 at the latest when he

saw Dr. Laub at Fletcher Allen Health Care.               Neueunswander

contends that his claim accrued on November 3, 2001 when his

penis sloughed off, or at the earliest in March 2001 when he

saw Dr. Breuing at Brigham and Women’s Hospital.

    1. Condition

    Based on the foregoing, the first step in this inquiry

is to determine whether Neuenswander knew or should have

known that his condition was deteriorating.               The government

argues that Neuenswander knew his condition was

deteriorating as early as September 1999, when he and Dr.

Holub voiced dissatisfaction with the VA and abandoned any

further treatment.

    Based on the medical records before the Court,

Neuenswander’s claim did not accrue in September 1999.                In



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June 1999 the VAMC reported improvements despite

Neuenswander’s concerns that his condition was getting

worse.   The doctor noted that the groin wounds were much

improved, and that Neuenswander had a wound between the

glans and shaft of his penis, but concluded that

Neuenswander’s condition was “overall probably improved.”

    In July 1999 Dr. Holub reported that Neuenswander was

concerned about the “chronicity of his illness.”                 However,

this is noted among a series of apparent improvements such

as adequate pain control, increased ability to get up in the

morning and irrigate wounds, improved mood, and generally

feeling “quite satisfied now.”

    In August 1999, Dr. Holub reported that the Brookside

nurses thought that Neuenswander’s condition was

deteriorating.     However, he also reported that Neuenswander

“feels that his wounds are about the same and was encouraged

by his last visit to plastic surgery at the VA Hospital

where Dr. Brown said that his wounds were improving.”

Although Dr. Holub also noted that “I am not sure that given

the extreme nature of his case that the VA Hospital are the

only specialists we should be using and I will likely be

contacting another plastic surgeon for a second opinion,” it



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is not clear whether Dr. Holub discussed this plan with

Neuenswander.

    On September 14, 1999, a Brookside nurse reported that

Neuenswander did not want to go his VA appointment but was

concerned “that penis has increase discharge from around

shaft.”     On September 15, 1999, a Brookside nurse reported

that Dr. Holub saw Neuenswander and they decided to cancel

the appointment at the VAMC scheduled for the next day.                The

nurse also noted that “MD will contact us [with] rescheduled

VA appt. and appt. [with] a specialist he is trying to

arrange.”     Dr. Holub’s notes from that visit indicate that

“Bill resists going to see plastic surgeons at the VA

hospital, stating that they never have anything new to

offer.    I am forced to agree with his assessment at this

point.    I have previously felt his wounds were not healing

adequately and have expected a more aggressive approach, but

Dr. Brown is satisfied with his progress, expecting a

relatively slow recovery.”           Nonetheless, Dr. Holub concluded

that despite “[e]xtensive wounds on sacrum, perineum, penile

shaft, and bilateral inguinal folds with red and friable-

appearing tissue and moderate whitish discharge,”

Neuenswander’s shows “[g]eneral improvement over admission,



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though not much.”

    Based on these records, by September 1999 it was

reasonable for Neuenswander to rely on the reports from his

doctors that the treatment of his wounds was producing

positive, albeit slow, results and that his condition was

not getting worse.      See Rispoli, 576 F. Supp. at 1403

(finding that patient who was assured by his doctor that

condition would be treated and would heal did not know of

his injury until after treatment was unsuccessful).                   Hence,

Neuenswander’s claim did not accrue in September 1999 as the

government contends.

    In November 1999, the Brookside nurses reported that

there was an increase in yellow mucus discharge from

Neuenswander’s penile shaft, that the healing process was

slow, he had “open areas perineum, penis, groin,” and that

his skin integrity was impaired.            By January and February of

2000, the Brookside nurses reported that the glans of his

penis was detaching, he was losing control of urination and

was experiencing extreme pain.            However, in June 2000, when

Neuenswander saw Dr. Laub at FAHC, Dr. Holub reported that

Neuenswander’s “wound situation has been relatively static

with not much improvement or worsening since that time.”                   In



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October 2000, Dr. Sarkis reported that antibiotics have

improved Neuenswander’s condition, and it was not until

November 2001 that Neuenswander’s glans was removed at the

emergency room.

    Although in retrospect Neuenswander’s condition might

appear to have been worsening during this period, the

question is whether Neuenswander knew or should have known

that his condition was deteriorating.             Based on Dr. Holub’s

reports, Neuenswander’s condition was static.                 Dr. Laub

concluded that Neuenswander’s “surgical wound showed no

signs of contraction although the inguinal area indeed are

contracting and show signs of healing.                The perineal and

perianal area however do not show any change over the

photographed period.”       Moreover, although Dr. Laub did not

recommend further surgery, he did not recommend any

alternative treatments.        By June 2000, therefore, it was

still reasonable for Neuenswander to rely on the evaluations

of his condition and treatment by his doctors.                 Similarly,

in Mortensen v. United States, 509 F. Supp. 23 (S.D.N.Y.

1980) the plaintiff suffered injuries to his back and arms

from a fall.     He sought treatment from the Public Health

Service (“PHS”), who diagnosed ulnar nerve neuropathy that



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would improve with time.            Id. at 25.        Approximately six

months after his discharge from PHS and after another

accident, the plaintiff was told by a non-PHS doctor that

surgery was recommended for his ulnar nerve symptoms.                        Id.

at 25-26.       The court decided that the plaintiff’s claim had

not accrued at the time of his discharge from PHS.                        Id. at

28.     Rather, the court reasoned that “[w]hen plaintiff was

told by [the PHS doctor] that his condition would improve

with time, and that nerve injuries sometimes take a long

time to heal, he was entitled to accept and rely upon the

diagnosis of his doctor, although, at the time, he felt his

condition was deteriorating.”                 Id.   The court determined

that the claim accrued when, with the knowledge that his

condition had not improved, the plaintiff saw the non-PHS

doctor who recommended an alternative treatment option,

namely surgery.           Id. at 28-29.        At that time he had the

“critical facts of injury and causation” such that he could

discover whether the PHS was negligent “in failing to

properly diagnose his condition, to properly follow up its

treatment of that condition, and to recommend surgery.”                        Id.

at 29.

       Accordingly, by June 2000, even though Neuenswander



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might have thought that his condition was deteriorating, Dr.

Holub and Dr. Laub reported that his condition had been

static.   Additionally, given his treatment history and the

nature of this chronic disease that manifests itself with

periodic outbreaks, it is reasonable that Neuenswander did

not consider the developing wound on his penis as an

indication that his overall condition was getting worse.

Rather, under the circumstances it was reasonable for

Neuenswander to believe that he was simply enduring his

recurring disease.      Therefore, his claim could not have

accrued at this time.

    2.    Cause

    Notwithstanding the foregoing, even if Neuenswander

knew that his condition was deteriorating by June 2000, he

must also know the cause in order for his claim to accrue.

The government suggests that the duration of Neuenswander’s

in-patient treatment at the VA should have made him aware

that the VA treatment (or lack thereof) was the cause of his

condition.    However, Neuenswander suffers from a chronic

skin disease.     The fact that he received treatment from the

VA does not necessarily translate into knowledge that this

treatment has any causative relationship with his condition.



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In Drazan, for example, the patient received annual chest x-

rays from the VA for many years.            762 F.2d at 59.       His last

x-ray revealed a large cancerous tumor in his lung, which

caused his death the following month.             The court found that

the statute of limitations did not start to run until his

wife learned “the cause that [was] in the government’s

control, not a concurrent but independent cause that would

not lead anyone to suspect that the government had been

responsible for the injury.”          Id.    Hence, although she knew

that her husband died from lung cancer treated only by the

VA, the cause of action did not accrue until she learned

that the government had failed to follow up on the results

of an earlier x-ray that indicated a small tumor.

Similarly, it is not enough to say that because Neuenswander

had extensive treatment from the VA that he necessarily knew

or should have known that this treatment, or failure to

treat, caused his condition to worsen.

       The government relies on Sexton to argue that knowledge

of “the basic nature of treatment” is sufficient.                 832 F.2d

629.    However, the Sexton court’s reasoning was as follows:

“[A] man is admitted to a hospital with heart problems, and

the doctors administer remedies A, B and C.               They do not use



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alternative remedies D, E and F.              The man knows nothing of

these; he is not a doctor.           But, if he dies, his survivors

are armed with the knowledge that A, B and C were the only

remedies employed. . . . [T]he survivors can properly be

said to know the cause of the injury: they know that death

resulted from (1) a natural cause (2) treated only by

remedies A, B and C.”       Id. at 633-634.            The patient himself

was not charged with this knowledge and the claim didn’t

accrue until his death.        Id. at 637.        Green is also

distinguishable on its facts.              765 F.2d 105.      In that case,

the court found that the patient knew, or should have known,

of his injury and its cause when he received diagnosis and

treatment by a non-VA hospital that explained that the cause

of his condition was the radiation treatments he received

from the VA.     In Neuenswander’s case, the comparable

scenario did not occur until he saw Dr. Breuing in March

2001.   In fact, even after seeing Dr. Laub in June 2000,

Neuenswander still had no reason to believe that his

condition was caused by anything other than the natural

progression of his disease.

    Accordingly, Neuenswander’s claim did not accrue by

June 2000, even if he knew at that time that his condition



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had deteriorated.      Rather, it was not until March 2001 when

Neuenswander saw Dr. Breuing that he reasonably could have

known that the progression of his condition was exacerbated

by the VAMC’s failure to properly treat him.                Therefore,

Neuenswander’s claim necessarily accrued after September 3,

2000 and his action is timely.            I recommend that the

government’s motion to dismiss based on the statute of

limitations be denied.

III. Administrative Review

    On September 3, 2002, Neuenswander presented an

administrative claim to the VA alleging “negligent, reckless

wanton failure to properly treat claimant’s disease,

hydradenitis.”     (Doc. 1-2, Page 1).         Neuenswander reported

the “Date and Day of the Accident” as “Not a single trauma,

1998-2001.”    (Id.)    Two years later, but four months before

the final administrative decision, Neuenswander submitted to

the VA a draft of his civil complaint and an expert’s report

alleging that the VA had failed to properly treat his

condition beginning in 1983.

    The government argues that this Court lacks subject

matter jurisdiction over all claims prior to 1998 because

they were not properly presented to the agency.



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Neuenswander responds that the VA had sufficient information

to conduct an investigation and evaluate his claim and

therefore all the claims in the complaint were properly

raised with the agency.

       Under the FTCA, “an action shall not be instituted upon

a claim against the United States ... unless the claimant

shall have first presented the claim to the appropriate

Federal agency . . . .”           28 U.S.C. § 2675(a).          This

presentment requirement is jurisdictional and cannot be

waived.      Keene Corp. v. United States, 700 F.2d 836, 841 (2d

Cir. 1983).       Additionally, because the FTCA is a waiver of

sovereign immunity, its procedures are applied strictly.

Id.

       The purpose of the presentment requirement is to

“expedite the fair settlement of tort claims” and “ease

court congestion and avoid unnecessary litigation.”                      Johnson

v. United States, 788 F.2d 845, 848 (2d Cir. 1986)(citation

omitted), overruled on other grounds by Sheridan v. United

States, 487 U.S. 392 (1988).             Accordingly, to satisfy the

presentment requirement, a claimant need only “provide

enough information to permit the agency to conduct an

investigation and to estimate the claim’s worth.”                      Romulus



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v. United States, 160 F.3d 131, 132 (2d Cir. 1998).                    “[A]n

administrative claim need not meet formal pleading

requirements.”     Johnson, 788 F.2d at 848.             “[It] need do no

more than provide sufficient information as to allow the

agency to process a claim administratively.”                 Dundon v.

United States, 559 F. Supp. 469, 477 (E.D.N.Y. 1983).

       For example, in Johnson, the plaintiffs presented an

administrative claim based on an alleged sexual assault by a

postal employee.       788 F.2d at 847-848.           The subsequent

complaint alleged negligent supervision by the Postal

Service.    The court reasoned that, “Although the

[administrative] claim supplied no facts evidencing

negligent supervision and did not allege all the factual

elements of such a theory of liability, a reasonably

thorough investigation of the incident should have uncovered

any pertinent information in the government’s possession

relating to the agency’s knowledge, or lack of knowledge, of

any prior sexual misconduct by its employee. . . .”                    Id. at

849.

       Unlike the plaintiff in Johnson, Neuenswander has not

alleged a different cause of action from the one presented

in his administrative claim.          He has alleged, and continues



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to allege, medical malpractice based on the VA’s failure to

properly treat his chronic skin condition.                  Certainly, a

reasonable investigation of Neuenswander’s claim for the

failure to properly treat his medical condition, which had

been treated exclusively by the VA for over twenty years,

would include a review of his entire medical history with

the VA and thereby “uncover any pertinent information.”                    See

Id.     The VA was therefore reasonably on notice of the nature

of Neuenswander’s claim and had a reasonable opportunity to

investigate his treatment history and other “closely

related” matters.         See generally Burchfield v. United

States, 168 F.3d 1252, 1256 (“Section 2675(a) does not

require an agency to undertake an independent search for

injuries or theories of liability that are not closely

related to the matters described in the claim.” (Citation

omitted)); Vega v. United States, 68 F. Supp. 2d 113, 117

(D.P.R. 1999)(“[T]he First Circuit has employed a lenient

approach . . . keeping in mind that the law was not intended

to put up a barrier of technicalities . . . Notwithstanding

this leniency . . .the relevant agency [must] have enough

information to reasonably begin an investigation of the

claim and place value on the total claim.”)



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                               CONCLUSION

    For the foregoing reasons, I recommend that the

government’s motion to dismiss (Doc. 8) be DENIED.

    Dated at Burlington, in the District of Vermont, this

3 rd day of February, 2006.

                                     /s/ Jerome J. Niedermeier
                                     Jerome J. Niedermeier
                                     United States Magistrate Judge

Any party may object to this Report and Recommendation
within 10 days after service by filing with the clerk of the
court and serving on the magistrate judge and all parties,
written objections which shall specifically identify
portions of the proposed findings, recommendations or report
objections. Failure to file objections within the specified
time waives the right to appeal the District Court’s order.
See Local Rules 72.1, 72.3, 73.1; 28 U.S.C. § 636(b)(1);
Fed. R. Civ. P. 72(b), 6(a) and 6(e).




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